
705 S.E.2d 752 (2011)
STATE of North Carolina
v.
Ricky BARTLETT.
No. 2P11.
Supreme Court of North Carolina.
February 3, 2011.
G. Mark Teague, Assistant Attorney General, for State of N.C.
M. Alexander Charns, Durham, for Bartlett, Ricky.
Ricky Bartlett, Nashville, for Bartlett, Ricky.
Frank R. Parrish, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 3rd of January 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 3rd of February 2011."
